    Case 20-10553-CSS       Doc 12-3      Filed 03/09/20     Page 1 of 2




                                 Exhibit C

                            First Day Motions

   Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of
    Chapter 11 Cases, and (II) Granting Related Relief;

   Debtors’ Application for Entry of an Order Appointing Kurtzman Carson
    Consultants LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition
    Date;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
    to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
    Prepetition Obligations Related Thereto, and (C) Maintain Existing Business
    Forms and (II) Granting Related Relief;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
    to Maintain and Administer Certain Customer Programs and Honor Certain
    Prepetition Obligations Related Thereto and (II) Granting Related Relief;

   Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
    Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
    Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief;

   Debtors’ Motion Seeking Entry of an Order (A) Authorizing the Debtors to File a
    (I) Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix
    for Each Debtor, (II) File a Consolidated List of the Debtors’ Thirty Largest
    Unsecured Creditors, and (III) Redact Certain Personally Identifiable Information
    for Individual Creditors and Interest Holders and (B) Granting Related Relief;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
    of Certain Prepetition Taxes and Fees and (II) Granting Related Relief;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Determining Adequate
    Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Providers
    from Altering, Refusing, or Discontinuing Utility Services, (III) Establishing
    Procedures for Determining Adequate Assurance of Payment, (IV) Requiring
    Utility Providers to Return Deposits for Utility Services No Longer in Use, and
    (V) Granting Related Relief;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
    to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
    Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs
    and (II) Granting Related Relief;
    Case 20-10553-CSS      Doc 12-3     Filed 03/09/20    Page 2 of 2




   Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification
    and Hearing Procedures for Certain Transfers of and Declarations of
    Worthlessness With Respect to Common Stock and (II) Granting Related Relief;

   Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Procedures
    for Store Closing Sales, (II) Authorizing Customary Bonuses to Employees of
    Closing Stores, (III) Authorizing Assumption of the Consulting Agreement, and
    (IV) Granting Related Relief; and

   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
    Pay Certain Prepetition Specified Lienholder Claims and (II) Granting Related
    Relief.
